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                             United States District Court
                                       for the
                             Southern District of Florida

 Bryan Boigris, Plaintiff,              )
                                        )
 v.                                     ) Civil Action No. 19-21148-Civ-Scola
                                        )
 EWC P&T, LLC, Defendant.               )


                                     Judgment
       The Court has granted summary judgment. (Order, ECF No. 119.) The
 Court now enters judgment as follows:
   • The Court enters judgment in favor of the Defendant EWC P&T, LLC
       (“EWC”) and against the Plaintiff Bryan Boigris, as required by Federal Rule
       of Civil Procedure 58.
   • The Court further enters judgment in favor of the Defendant EWC and
       against the Plaintiff Boigris on counts one, two, and three of EWC’s
       Counterclaim.
   • With regards to count two for declaratory judgment of the Counterclaim,
       the Court hereby declares that EWC has priority in the REVEAL ME,
       SMOOTH ME, and RENEW ME trademarks and that Boigris’s use of the
       marks REVEAL ME, SMOOTH ME, and RENEW ME in commerce
       constitutes trademark infringement under 15 U.S.C. § 1125(a).
   • Based on the Court’s award of statutory damages to EWC for count three of
       the Counterclaim (ECF No. 123) and the Court’s award of fees to EWC
       pursuant to the Sanctions Order, judgment is hereby entered in favor of
       EWC and against Boigris in the amount of $57,367.50, which shall bear
       interest at the legal rate provided by 28 U.S.C. § 1961, for which sum let
       execution issue.
   Finally, the Court grants the Defendant EWC’s motion for final judgment (ECF
   No. 131). The Court directs the Clerk to close this case.
       Done and ordered at Miami, Florida, on April 20, 2020.


                                            ________________________________
                                            Robert N. Scola, Jr.
                                            United States District Judge
